¢Case 18-01760-5-.]NC 'Doc 4 Filed 04/09/18 Entered 04/09/18 OQ§C§:E§§ 1 of 1_

 

 

APR 0`92013

, M ABQCU§ sTEPHANrEJ. BurLER,cLERK
Cf€dl{ Coungeling U..S BANKRUPTCY COURT

EASTERN D|STR|CT OF NC

Certificate Number: 20184061808

CERTIFrcATE oF CRED\T CouNsELiNe

l certify that on 04106!2018, Joan Eley

received from Abacus Credit Counselinq. an agency approved pursuant to 11

U.S.C. § 111 to provide credit counseling in the Eastern District of North Carolina ,
an individual l[or group] briehng that compiied with the provisions of 11 U.S.C. §§
109(h) and 111.

A debt repayment plan was not prepared if a debt repayment plan was prepared, a

copy of the debt repayment pian is attached to this certificate

This counseling session was conducted by internat .

Datei April 6, 2018

By: /lea`ura iVi Niart
Name: Laura M Ahart

Titie: Credit Counselor

* individuals who wish to tile a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to tile with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the

credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

 

 

 

